                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

In re Vidal D. Borromeo,
                                                      Case No. 11-63634
               Debtor.                                Chapter 7
                                                      Hon. Walter S. Shapero
__________________________________/

Jane Doe,

               Plaintiff,

v.                                                    Adv. P. No. 11-07028

Vidal D. Borromeo

            Defendant.
___________________________________/

OPINION DENYING PLAINTIFF’S MOTION TO RESTRAIN TRANSFER OF ASSETS

       This matter is before the Court on plaintiff Jane Doe’s Motion to Restrain Transfer of

Assets (Adv. P. Dkt. # 73). Plaintiff has a nondischargeable consent judgment against

defendant/debtor Vidal Borromeo (“Debtor”). She seeks an order prohibiting Debtor from

transferring funds he receives monthly from a pension, which he uses to pay another judgment

creditor, his ex-wife. For the reasons stated in this Opinion, Plaintiff’s Motion is denied.

                                        Findings of Facts

       Debtor is a medical doctor who was employed by William Beaumont Hospital

(“Beaumont”) through the late 1990's, when he left to begin his own practice, from which he

retired in 2011.

       On September 2, 2011, Debtor filed a voluntary chapter 7 bankruptcy petition. He did not

disclose an interest in any pension funds on Schedule B, nor did he exempt any pension funds on

Schedule C. Included on Schedule F is a medical malpractice “claim” owed to a plaintiff Jane



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Doe in the amount of $500,000, and included in the Statement of Financial Affairs is a reference

to a state court judgment apparently in respect to that claim.

        On December 12, 2011, Plaintiff filed an adversary complaint against Debtor seeking

denial of discharge pursuant to 11 U.S.C. § 727 or dismissal of the case pursuant to

11 U.S.C. § 707. Plaintiff thereafter moved to amend the complaint to include a claim for

nondischargeability of her malpractice judgment pursuant to 11 U.S.C. § 523(a)(6). Before the

motion to amend was ruled on, all of the issues between the parties, including any issues arising

under § 523(a)(6), were sent to mediation.

        On March 7, 2012, a consent judgment of divorce was entered in Oakland County Circuit

Court dissolving Debtor’s 35 year marriage to Bernadette Borromeo. The Judgment provides

that Debtor pay his ex-wife $3,600 per month in spousal support. It also provides that “the

parties shall each be awarded the retirements saving in their own names as their separate

property free and clear of any right, title or claim by or on behalf of the other party.” (Consent

Judgment of Divorce, Plaintiff’s Ex. 3 at 4).1 No specific retirement savings accounts or

pensions were listed or enumerated in the judgment of divorce.

        On July 20, 2012, Debtor received a discharge in his bankruptcy.2

        On June 7, 2013, Plaintiff and Debtor entered into a settlement agreement incident to the

mediation (“Settlement Agreement”), pursuant to which Debtor made a $23,000 payment to

Plaintiff.


        1
        Unless otherwise specified, exhibit numbers/letters refer to exhibits admitted at the
hearing held on June 15, 2015.
        2
      The discharge was set aside on September 6, 2012 but then reinstated pursuant to the
Judgment of Nondischargeability entered by this Court on August 5, 2013.

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       On August 5, 2013, a Consent Judgment of Nondischargeability against Debtor was

entered in the amount of $300,000 (“Consent Judgment” or “Nondischargeable Judgment”). The

Consent Judgment incorporated the Settlement Agreement and stated:

       as set forth in the settlement agreement. . . the judgment may be wholly satisfied
       if Defendant pays Plaintiff the sum of $260,000.00 under the terms agreed to in
       the parties’ mediatio/n settlement agreement. . . . If there is a default under the
       settlement agreement following notice and failure to cure, the judgment set forth
       above [in the amount of $300,000.00] shall be immediately enforceable and
       Plaintiff may employ all procedures available under applicable law to satisfy the
       judgment amount, which shall then accrue interest at the applicable statutory
       rate(s) from the time of default.

Consent Judgment (Adv. P. Dkt. No. 67).

       As all of the damages awarded to Plaintiff under the Settlement Agreement were awarded

pursuant to the § 523(a)(6) claim, the Consent Judgment also granted Plaintiff’s motion to amend

the complaint to add a count under that section. Apart from the $23,000 paid to Plaintiff in June,

2013, Debtor has made no other payments to Plaintiff.

       On August 9, 2013, Debtor’s bankruptcy case was closed.

       On or about November 5, 2013, Debtor received a letter from Beaumont, his former

employer, regarding retirement checks. That letter, and the documents attached to it, indicated

that: (a) Debtor was entitled to a monthly pension payment from Beaumont in the amount of

$840 beginning December 1, 2013, and (b) in the event of Debtor’s death, his beneficiary, listed

as Bernadette Borromeo, was entitled to those payments until November 1, 2023. In addition to

the monthly payments, Debtor was “entitled to a one-time payment in the amount of $17,235.98

which represents payment back to April 1 following the year in which he turned age 70.5.”

(Debtor’s Ex. D).

       The William Beaumont Hospital Employees’ Retirement Plan, which became effective

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on January 1, 2014, included the following provision regarding assignment of benefits:

       For the protection of your interests and those of your dependents, your benefits
       under the Plan cannot be assigned and, to the extent permitted by law, are not
       subject to garnishment or attachment by your creditors. However, the Plan must
       honor a “qualified domestic relations order.” A qualified domestic relations order
       is a decree or order issued by a court which obligates you to pay child support or
       alimony, or otherwise allocates a portion of your interest in the Plan to your
       spouse, former spouse, child or other dependent. If the Plan receives a qualified
       domestic relations order, all or a portion of your benefits may be used to satisfy
       the obligation.

Beaumont Retirement Plan, Plaintiff’s Ex. 4, at 21.

       On December 1, 2013, Debtor began receiving the pension payments from Beaumont.

The payments were made by the pension plan administrator.

       Plaintiff was not receiving payments from Defendant pursuant to the terms of the

Consent Judgment so, on January 3, 2014, Plaintiff moved to enforce that Judgment. On January

31, 2014, in an Order enforcing the Consent Judgment, the Court found that Debtor was in

breach of the June 7, 2013 Settlement Agreement “by defaulting on his December 1, 2013

payment obligation to Plaintiff and failing to cure that default within 30 days.” The Court

ordered “that as a result of Defendant’s breach the $300,000.00 nondischargeable judgment

previously entered by this Court, minus the payment of $35,000 made by Defendant previously. .

. $265,000.00 is now due and owing with interest at the applicable statutory rate from the date of

the default (12/1/13) by the Defendant, Dr. Vidal D. Borromer.”

       On November 6, 2014, Defendant appeared for a judgment creditor’s exam conducted by

counsel for Plaintiff. During that exam, Plaintiff apparently first became aware of the Beaumont

pension. Debtor testified that he was using the pension money to pay his ex-wife the amount he

was obligated to pay her each month under the judgment of divorce. While that amount was


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$3,600 per month, Debtor was only able to pay her $3,100 per month.3 He indicated that about a

week before the creditor’s exam, he contacted the pension plan administrator and asked it to

deposit the $840 Beaumont pension directly into his ex-wife’s bank account. He proffered no

paperwork or evidence of a formal transfer or assignment and testified that he could not recall

having signed any paperwork regarding such. There is no evidence in the record regarding

whether the plan administrator complied with Defendant’s request regarding the deposits.

       On January 2, 2015, Plaintiff filed the extant Motion to Restrain Transfer of Assets

seeking entry of an order prohibiting Debtor from transferring the Beaumont pension payment to

his ex-wife for at least two years. On January 28, 2015, Debtor responded to the Motion,

asserting that under Michigan law (Mich. Comp. Laws. § 600.6023(1)(k)), pensions are exempt

from execution by judgment creditors and the Court cannot enjoin transfer of the pension or

otherwise dictate the manner in which Debtor uses the funds.

       On March 5, 2015, this Court held a preliminary hearing on the Motion and ruled that,

temporarily, Debtor “is restrained from transferring his interest in any pension he may be entitled

to arising from his former employment at the William Beaumont Hospital.” The Court then set a

full evidentiary hearing regarding “issues relating to the right of Plaintiff to seek to satisfy her

judgment against the pension as well as any other issues relating to the assets of Debtor that may

be subject to being used to satisfy this judgment.” At that evidentiary hearing, Debtor was the

sole witness and his testimony was consistent with the testimony previously given at the

creditor’s exam. At the end of the hearing, the parties agreed that the dispositive issue to be then


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         Debtor testified that in addition to the pension, he receives monthly social security
payments, some money from family members in the Philippines and some money from his son.
His total monthly income only slightly exceeds the $3,600 payment he owes his ex-wife.

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decided by this Court was whether the Beaumont pension was exempt from collection by a

judgment creditor.4 If the pension is exempt under state law, the parties appear to agree that the

Court cannot prohibit the transfer of the pension funds. Plaintiff also asserts that even if it is so

exempt, Debtor’s attempt to assign or transfer the pension payments to his ex-wife voided the

exemption.

                                              Analysis

       Plaintiff in this matter is a judgment creditor with a nondischargeable judgment against

Debtor, and Debtor’s ex-wife is also a judgment creditor with a nondischargeable judgment

against him. It appears that Debtor is: (a) currently making monthly payments to his ex-wife, in

part, by having the Beaumont pension administrator deposit his monthly pension check directly

into his ex-wife’s bank account, and (b) currently making no payments to Plaintiff.

       The applicable Michigan statute is Mich. Comp. Laws. § 600.6023(1)(k). It provides, in

relevant part:

       (1) The following property of a judgment debtor and the judgment debtor’s
       dependents is exempt from levy and sale under an execution:
               ...
               (k) The right or interest of a person in a pension, profit-sharing, stock bonus,
       or other plan that is qualified under section 401 of the internal revenue code of 1986, 26
       USC 401, or an annuity contract under section 403(b) of the internal revenue code of
       1986, 26 USC 403, if the plan or annuity is subject to the employee retirement income
       security act of 1974, Public Law 93-406, 88 Stat. 829. This exemption applies to the
       operation of the federal bankruptcy code, as permitted by section 522(b)(2) of the
       bankruptcy code, 11 USC 522. This exemption does not apply to any amount contributed
       to a pension, profit-sharing, stock bonus, or other qualified plan or a 403(b) annuity if the
       contribution occurs within 120 days before the debtor files for bankruptcy. This
       exemption does not apply to the right or interest of a person in a pension,
       profit-sharing, stock bonus, or other qualified plan or a 403(b) annuity to the extent that


       4
         To the extent that issues were raised regarding other assets, including real property
located in the Philippines (or proceeds thereof), those issues were abandoned.

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        the right or interest in the plan or annuity is subject to either of the following:

                (i) An order of a court pursuant to a judgment of divorce or
                separate maintenance.

                (ii) An order of a court concerning child support.

Mich. Comp. Laws § 600.6023(1)(k)(emphasis added). The statute is straightforward. As a

general rule, under Michigan law, certain types of pensions are exempt from levy and sale under

execution, and judgment creditors cannot seek payment from those funds.

        Plaintiff in the present case is a judgment creditor. The funds she seeks to enjoin from

transfer (to another judgment creditor) are Defendant’s monthly Beaumont pension payments.5

Therefore, the plain language of the statute exempts the pension from Plaintiff’s claim. Plaintiff

cites no case law or other authority rendering the plain language of the statute inapplicable to the

Beaumont pension.

        Express language included in the Beaumont pension plan also recognizes the state law

protection for pensions. It states that “[f]or the protection of your interests and those of your

dependents, your benefits under the Plan cannot be assigned, and to the extent permitted by law,

are not subject to garnishment or attachment by your creditors.” (Beaumont Retirement Plan,

Plaintiff’s Ex. 4 at 21). Thus, the statute, bolstered by the plan language, clearly dictates that

Defendant’s Beaumont pension is protected from Plaintiff’s collection efforts.

        As noted, Plaintiff contends that even if the Beaumont pension is exempt pursuant to

§ 600.6023(1)(k), under subsection (i), the pension exemption does not apply to an interest in a

pension “to the extent that the right or interest in the [pension] is subject to . . [a]n order of a


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        The Court assumes that the subject Beaumont pension falls within the pensions
described in the statute. Neither party argues otherwise.

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court pursuant to a judgment of divorce[.]” Plaintiff appears to be asserting that by assigning (or

attempting to assign) the monthly Beaumont payments to his ex-wife in satisfaction (or partial

satisfaction) of his support obligation, those payments have somehow become “subject to an

order of the court pursuant to a judgment of divorce” and are no longer protected by the state law

exemption.

        Plaintiff’s argument has no merit. The judgment of divorce clearly left Defendant and his

ex-wife each with their own pension/retirement plans. Neither has any claim on the other’s

pension after the divorce. There is no state court order which awards Defendant’s wife an

interest in Defendant’s pension or requires Defendant to satisfy the support obligation with

pension funds. Plaintiff admitted as much in her post-petition brief (“the judgment of divorce

does not specifically assign the pension” (Plaintiff’s Post-Hearing Brief, Adv. P. Dkt. # 99 at

4)).    Mich. Comp. Laws § 600.6023(1)(k)(i) is simply inapplicable to the facts in the present

case.

        At the hearing before this Court, Defendant testified that he attempts to pay the entire

support obligation he owes his ex-wife every month through whatever means he has available.

His attempt to pay his support obligation by directing the plan administrator to deposit the

monthly Beaumont pension check directly into his wife’s bank account does not transform those

payments into court ordered payments pursuant to a judgment of divorce.

        In addition to arguing that the state law pension exemption does not apply to the

Beaumont pension payments, Plaintiff makes several arguments relating to alleged bad faith by

Debtor in the bankruptcy proceeding. One such is that Defendant intentionally omitted the

Beaumont pension from his bankruptcy schedules and, therefore, that omission deprives


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Defendant of any exemption he might have been entitled to.

       There are any number of problems with this argument. First, Defendant’s bankruptcy

case is closed and no motion has been filed to reopen the case to properly raise the issue. The

issue before the Court now is a post-bankruptcy state law collection matter, not a substantive

good faith or other challenge to the bankruptcy proceeding itself. Second, while Plaintiff may

argue or even believe that the Beaumont pension was intentionally omitted from the bankruptcy

schedules, the record so far belies such a conclusion. At the time Defendant’s bankruptcy

petition was filed in September, 2011, Defendant had been self-employed for at least ten years.

He did not receive notice from Beaumont regarding his pension until November, 2013, three

months after his bankruptcy case was closed. A debtor’s failure to schedule an asset of which he

had no knowledge is not bad faith relating to the non-listing of the asset, and even if it were, it

does not necessarily involve a finding of bad faith in the filing of the case istself. Third, even if

Defendant had been aware of the pension at the time his bankruptcy petition was filed, it does

not appear that the Beaumont pension would have been property of the estate. 11 U.S.C. §

541(a) broadly defines property of the estate to include all legal or equitable interests of the

debtor in property. The bankruptcy code excludes from the bankruptcy estate property of the

debtor that is subject to a restriction on transfer enforceable under “applicable non bankruptcy

law.” 11 U.S.C. § 541(c)(2). An anti-assignment or anti-alienation clause under ERISA

constitutes such an enforceable restriction. Patterson v. Shumate, 504 U.S. 753 (1992). See also

Corzin v. Larson (In re Larson), 340 B.R. 852, 857 (Bankr. N.D. Ohio 2006). 6 It is a


       6
        The Sixth Circuit has adopted a three-part test for determining whether a debtor's interest
in property is excluded from property of the estate under § 541(c)(2): “First, does the debtor
have a beneficial interest in a trust? Second, is there a restriction on the transfer of that interest?

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fundamental rule that “no property can be exempted (and therefore immunized) unless it first

falls within the bankruptcy estate.” Owen v. Owen, 500 U.S. 305, 308 (1991). See also U.S. v.

Rogers, 558 F.Supp.2d 774, 785 (N.D. Ohio 2008). Based on the record before this Court,

including the Beaumont pension plan admitted into evidence at the June 15, 2015 hearing, it

appears that the Beaumont pension is an ERISA pension and, if so, a beneficial interest in such a

pension was not property of the bankruptcy estate. Because the pension was not property of the

bankruptcy estate, its omission from Defendant’s bankruptcy schedules perforce raises no

questions of bad faith. Fourth, even if no bankruptcy case had ever been filed, given the state

exemption statute, Plaintiff has not presented to this court any legal basis for the relief sought

                                            Conclusion

       For the foregoing reasons, Plaintiff’s Motion to Restrain Transfer of Assets is DENIED

and the Court is entering an appropriate order.


                                                  .



Signed on September 11, 2015
                                                            /s/ Walter Shapero
                                                        Walter Shapero
                                                        United States Bankruptcy Judge




Third, is the restriction enforceable under nonbankruptcy law?” In re Carter-Bland, 382 B.R.
743, 750 (Bankr. N.D. Ohio 2008).

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